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IN THE UNITED STATES DISTRICT COURT t _ v
FOR THE EASTERN DISTRICT OF TEXAS - ' '. - f~'.`f»‘ il
TEXARKANA DIVISION l ,{? a -' ,

 

RICHARD R. RICHARD, IR.,
on behalf of himself and all
other similarly situated,

Plaintiffs,
vs.

HOECHST CELANESE CHEMICAL
GROUP, INC.; SHELL OIL
COMPANY D/B/A SHELL
CHEMICAL COMPANY; HOECHST
CELANESE CORPORATION;

and E.I. DUPONT DE NEMOURS

& COMPANY,

Defendants.

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CASE NO. 500 CV 008 (DF)

 

HOECHST CELANESE CORPORATION’S AND
HOECHST CELANESE CHEMICAL GROUP, INC.’S
RENEWED MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

 

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COME NOW, Defendants Hoechst Celanese Corporation (now known as CNA Holdings,
Inc.) and Hoechst Celanese Chemical Group, lnc. (now known as Celanese Ltd.) (collectively
“Celanese”), and file their Renewed Motion to Dismiss Plaintiff’ s Second Amended Complaint
(“Second Amended Compl.”) pursuant to Rules 9(b), 12(b)(1) and 12(b)(6) of the Federal Rules
of Civil Procedure.l

This motion is based upon Celanese’s Memorandum of Law in Support of its Motion to
Dismiss Plaintiff’s Second Amended Complaint, annexed hereto, all pleadings and other papers on
file in this action, and upon such other matters as may be presented to the Court at the time of the
hearing.

Respectfully submitted,

  

 

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l By order dated February 8, 2001 (“Feb. 8 Order”), the Court ordered plaintiff to file a
civil RICO case statement and denied, Without prejudice to refile, Celanese’s Motion to Dismiss
Plaintiff’ s Second Amended Complaint.

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Preliminary Statement

By this product liability action, plaintiff is attempting to disrupt a five year old, $1 billion
nationwide class action settlement, Which provides repairs of leaking polybutylene (L, plastic)
plumbing and reimbursement for property damage caused by the leaks. This settlement received
final approval in 1995 from a Tennessee state court, and approximately $900 million has already
been spent under the settlement (much of it in Texas). To the extent plaintiff has leaking
polybutylene plumbing, plaintiff could already have had that plumbing replaced and been
reimbursed for any damages under the nationwide settlement

Approximately one year ago, each of the defendants moved to dismiss plaintiff’s original
complaint. lnstead of responding to these motions, plaintiff filed a first amended complaint.
Defendants moved to dismiss plaintiffs first amended complaint, and in response, plaintiff again
amended his complaint, Defendants moved to dismiss plaintiff’ s second amended complaint ln
light of defendants’ motions, the Court ordered plaintiff to file a civil RICO case statement
(“RICO Statement”) to determine “whether Plaintiff[] [has] asserted claims under RICO that
possess the required level of particularity.” (Feb. 8 Order at 2.)

Plaintiff has now filed his RICO Statement. As demonstrated below, however, neither the
second amended complaint nor plaintiff’s RICO Statement cure the pleading defects in the
complaint, To the contrary, the RICO Statement confirms that plaintiff cannot state a civil RICO
claim against Celanese, much less state such a claim with adequate particularity Indeed, the
RICO Statement does not refer to or cite a single specific representation plaintiff supposedly
received or otherwise relied upon from Celanese. As such, this action is subject to dismissal.

First, plaintiffs civil RICO claims fail under settled Fifth Circuit authority for failure to

 

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plead detrimental reliance on any alleged representation made by Celanese. Absent such pleading,
plaintiff cannot satisfy the proximate cause requirement of civil RICO.

Specifically, in plaintiff’s recently filed RICO Statement, plaintiff admits that he did not
receive, much less rely upon, any statements made by Celanese or any other defendant regarding
polybutylene plumbing lnstead, plaintiff alleges that defendants committed mail and wire fraud
by making certain statements regarding polybutylene plumbing to third-parties (i_.e_., code bodies,
manufacturers and plumbers), but not to plaintiff2

These are the very same allegations of indirect representations to third-parties which the
Fifth Circuit ruled in Summit Properties Inc. v. Hoechst Celanese Cor_‘p., et al., 214 F.3d 556 (5th
Cir. 2000), cert. denied, 121 S. Ct. 896 (2001) were insufficient to state a RICO claim. The
_SLmLit decision is directly on point, as that case involved the dismissal of identical RICO claims,
based on identical allegations, by identically situated homeowners, in a polybutylene plumbing
action against Celanese, defendant Shell Oil Company (“Shell”), and defendant E.I. du Pont de
Nemours & Company (“DuPont”).

As in Summit, plaintiffs civil RICO claims against Celanese are subject to dismissal

 

because, among other things:

' Plaintiff fails to plead, much less prove, proximate cause (i.i, that he received and
relied to his detriment on any representation made by Celanese concerning
polybutylene plumbing or polybutylene plumbing components);

' Plaintiff fails to plead civil RICO against Celanese with any, much less adequate,
particularity as required under Rule 9(b) of the Federal Rules of Civil Procedure;

 

2 Incredibly, plaintiff now admits that the only representations which he purportedly
received regarding polybutylene plumbing were made (if at all) by the prior owner of his mobile
home, and not by Celanese or any other defendant

3

 

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~ Plaintiff does not, as he cannot, plead that Celanese engaged in any mail or wire
fraud;

- Plaintiff fails utterly to satisfy the requirements for pleading an “enterprise”;

- Plaintiff does not, as he cannot, plead that Celanese engaged in a “pattern of

racketeering activity”;
~ Plaintiff concedes that he does not, as he cannot, state an "investment injury"; and
' Plaintiff does not, as he cannot, properly plead a RICO conspiracy claim.

Second, in another effort to create federal subject matter jurisdiction, plaintiff has

 

amended his original complaint to add a claim for false advertising or promotion under Section
43(a) of the Lanham Act. However, it is well settled that consumers, like plaintiff here, lack
standing to prosecute a claim for false advertising or promotion under the Lanham Act.
Moreover, plaintiff has not identified any false or misleading representation made by Celanese in
connection with commercial advertising or promotion of polybutylene plumbing

M, as in the original complaint, plaintiff continues to assert an alleged violation of the
Due Process Clause of the United States Constitution. According to the complaint, plaintiff
anticipates that defendants may assert the preclusive effect of the final judgment in the Tennessee
nationwide class action settlement as a bar to plaintiffs claims. In response to this anticipated
defense, plaintiff claims he may argue that his due process rights were somehow violated in the
Tennessee action. As relief for this purported due process claim, plaintiff seeks an injunction
barring defendants from asserting the preclusive effect of the Tennessee judgment

However, plaintiffs due process claim is Wholly meritless, as it fails to state a claim upon
Which relief can be granted and it fails to provide a basis for federal subject matter jurisdiction,

Celanese is a private citizen not acting under color of state, and thus cannot violate plaintiffs due

 

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process rights. Moreover, the injunctive relief sought by plaintiff Would violate the clear dictates
of both the Anti-lnjunction Act and the M/Feldman doctrine Further, under the “well-
pleaded complaint rule,” an anticipated defense, much less an anticipated response to an
anticipated defense, cannot create federal subject matter jurisdiction,

M, because all of plaintiff s federal claims are subject to dismissal, the Court should
not exercise supplemental jurisdiction over plaintiffs pendent state law claims.

I.
FACTS

This action is a product liability action in Which plaintiff seeks -- for himself and on behalf
of a putative class supposedly consisting of millions of individuals nationwide -- to recover
economic damages allegedly arising from polybutylene plumbing installed in plaintiff s residence.
(E Second Amended Compl. 1111 1, 4, 29.)

This action was not brought against any of the various companies that designed,
manufactured, sold or installed the different types of polybutylene plumbing and their
components Rather, plaintiff has sued only some of the raw material suppliers -- such as Shell,
Celanese,3 and DuPont -- Which provided the resins used by certain companies (none of which is a

defendant here) in the manufacture of certain plumbing components in some types of polybutylene

 

3 Hoechst Celanese Corporation is a raw material supplier of a variety of materials and
plastics, including a plastic resin called Celcon, Which, among its hundreds of other uses, was used
by third-parties (none of Which is a defendant here) in the manufacture of some parts in some
types of polybutylene plumbing. (E i_c_l. 11 10.) Hoechst Celanese Chemical Group, Inc. is a
commodity or bulk chemical supplier; it did not manufacture or otherwise supply Celcon, and thus
it has no connection whatsoever to polybutylene plumbing. For this reason, as well as the other
reasons set forth in this memorandum, Hoechst Celanese Chemical Group, Inc. should be
dismissed from this action.

 

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plumbing (E. at 1111 5-10.)

Although Hoechst Celanese Corporation did not design, manufacture, market, advertise,
sell, promote or install polybutylene plumbing, in 1995 it and Shell agreed -- without admitting
liability -- to a polybutylene plumbing national class action settlement in Cox, et al. v. Shell Oil
Company, et al., No. 18,844, 1995 WL 775363 (Chancery Court, Obion County, Tenn. Nov. 17,
1995) (“QL”).“ (IQ. at 11 19.) That settlement received final approval from the Tennessee state
court in November 1995 , and all appeals from that final order and judgment were dismissed in
1 996.

Under the § nationwide settlement these companies agreed to, among other things,
contribute a minimum of $950 million (now closer to $1 billion due to contributions from other
parties) to provide relief to homeowners nationwide (including tens of thousands in Texas)
affected by leaking polybutylene plumbing As a result of this settlement, hundreds of thousands
of homeowners nationwide (including tens of thousands of residents of Texas) have received free
replacement of their leaking polybutylene plumbing and reimbursement for property damage
caused by the leaks. Despite the availability of relief under the B nationwide class action
settlement and plaintiffs failure to even attempt to opt-out of this settlement, plaintiff has instead

chosen to file this action,

 

4 Although not relevant to this motion, the §§ final order and judgment does bar
plaintiffs claims, as it is beyond genuine dispute that property owners, like plaintiff here, who
have not opted out of the B settlement class may not prosecute lawsuits against Celanese. S_ee_
Matsushita Electric lndustrial Co.. Ltd. v. Enstein. 516 U.S. 367, 373-74 (1996) (“The judgment
of a state court in a class action . . . is presumptively entitled to full faith and credit under the
express terms of the Act”).

 

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II.
ARGUMENTs

A. The Court Should Dismiss Plaintiff’s RICO Claims

Plaintiffs RICO claims are subject to dismissal on numerous grounds, as it is clear that
homeowners, such as plaintiff here, have no federal RICO claims against remote, raw material
suppliers such as Celanese. For these very reasons, the Fifth Circuit recently affirmed the
dismissal of nearly identical RICO claims against Celanese and the other defendants here brought
by a similarly situated plaintiff in a case in the United States District Court for the Southem
District of Texas. §§ Summit Properties lnc. v. Hoechst Celanese Corp., et al., 214 F. 3d 556
(5th Cir. 2000), cert denied, 121 S. Ct. 896 (2001). The result should be the same here.6

1. Unable To Plead Proximate Cause, Plaintiff Lacks Standing To Bring A
RICO Claim Against Celanese

A plaintiff has standing to assert a RICO claim only if he can allege, unlike here, an injury

“by reason of” (L, directly caused by) a violation of the RICO Act. Holmes v. Securities

 

5 On a motion to dismiss an action pursuant to Rule 12(b) of the F ederal Rules of Civil
Procedure, the motion should be granted where, as here, the plaintiff fails to state a claim upon
Which relief can be granted. Neitzke v. Williams, 490 U.S. 319, 327 (1989); Crowe v. Henry, 43
F.3d 198, 203 (5th Cir. 1995) (same); Tel-Phonic Servs.. Inc. v. TBS lnt’l. lnc.. 975 F.2d 1134,
1137 (5th Cir. 1992) (same). While the well-pleaded allegations of the complaint must be
accepted as true for purposes of this motion only, “[i]n order to avoid dismissal for failure to state
a claim, a plaintiff must plead specific facts, not mere conclusory allegations.” Elliott v. Foufas,
867 F.2d 877, 881 (5th Cir. 1989).

6 A recent decision by the Fifth Circuit notes that “in Summit we ruled that a target of a
fraud that did not itself rely on the fraud may pursue a RICO claim if the other elements of
proximate causation are present” Proctor & Gamble Co. v. Aman Coro., 242 F.3d 539, 564-65
(5th Cir. 2001). This decision is of no assistance to plaintiff The so-called target “exception” was
not applicable in Summit, which concerned plaintiffs identically situated to the plaintiff in this
case; thus, that exception is also plainly inapplicable here,

 

 

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Investor Protection Group, 503 U.S. 258, 270-74 (1992). §e§ also Sedima S.P.R.L. v. Irnrex
Q, 473 U.S. 479, 496 (1985) (“A RICO plaintiff only has standing by [reason of] the conduct

constituting the violation”). The Supreme Court in Holmes made clear that the “by reason of ’

 

language in RICO requires a causal connection between the predicate mail or wire fraud and
plaintiffs injury that includes proximate causation. 503 U.S. at 265-68.

The predicate acts upon Which plaintiffs civil RICO claims are based consist only of
alleged instances of mail and wire fraud. (Second Amended Compl. 1111 67, 69, 70.) However, as

the Fifth Circuit recently held in Summit, where, as here, the alleged civil RICO claim is

 

predicated solely on mail or wire f`raud, plaintiff must plead and prove detrimental reliance upon a
representation made by the defendant in order to show proximate cause -- a showing plaintiff
has not made and cannot make here,
Today we are invited to read RICO as establishing a federal products liability scheme
complete with treble damages and attorney fees for the benefit of end-users of defective
products who never relied on manufacturers’ alleged misrepresentations of product
quality. We are unpersuaded that RICO can be extended so far by such a marriage of
distinct duties and liability regimes.
Summit, 214 F.3d at 557; §e_e al& ic_l. at 562 ("ln sum, when civil RICO damages are sought for
injuries resulting from f`raud, a general requirement of reliance by the plaintiff is a commonsense
liability limitation"); Heden v. Hill, 937 F. Supp. 1230, 1243 (S.D. Tex. 1996) (same).
Unable to avoid this settled and controlling rule, plaintiff simply asserts in his RICO
Statement that “Plaintiff actually relied on Defendants’ misrepresentations.” (RICO Statement at
16.) However, plaintiff does not (because he cannot) allege any specific instance where Celanese

or any other defendant made Lv representation to plaintiff or any other homeowner regarding

polybutylene plumbing or components thereof. Plainly, plaintiff s vague and conclusory assertion

 

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is insufficient to plead detrimental reliance. §§ §M, 214 F.3d at 562 (“To hold otherwise
would allow the threat of treble damages and attorney fees to infiltrate garden variety products
liability cases whenever marketing promotions touted the merits of the products, even if no
plaintiff relied on those representations”).

Plaintiff attempts to plead detrimental reliance by alleging that Celanese made certain
fraudulent misrepresentations to third parties such as code bodies, municipal agencies,
wholesalers, contractors and installers. (Second Amended Compl. 1111 44 & 63(a); RlCO
Statement at 6-7.) Faced with nearly identical allegations of purported misrepresentations to

third-parties by Shell, Celanese and DuPont, the Fifth Circuit in Summit held that the plaintiffs

 

had failed to state a cognizable RICO claim against Celanese:

The causal connection between a misrepresentation and a subsequent harm . . . vanishes

once the product travels beyond the entity who actually relied on the representation When

making the purchasing decision.
214 F.3d at 560.

Indeed, plaintiffs assertion of reliance is belied by his admission that the only alleged
representation he received regarding polybutylene plumbing was supposedly made by the prior
owner of his mobile home, and not by Celanese or any other defendant (RICO Statement at 13-
14.) Specifically, in his RICO Statement, plaintiff alleges for the first time that the prior owner of

his mobile home told him that it was plumbed with polybutylene, that polybutylene Was an

excellent and durable product,7 and “[i]n reliance on this false representation,” plaintiff purchased

 

7 Plaintiff alleges that the prior owner made this representation based upon certain,
unspecified “fraudulent promotional material promulgated” by defendants (RICO Statement at
13-14.) However, plaintiff does not -- because he cannot -- refer to any specific promotional
material, oral or Written, received by the prior owner from Celanese or any other defendant
regarding polybutylene plumbing or components thereof.

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the home. (Ll_.) However, even if the prior owner allegedly relied on representations from
defendants, the claim still fails. As the Summit court made clear:

even if intermediary builders, plumbers, code officials, or prior owners relied on the

defendants' alleged misrepresentations When choosing to use or approve PB plumbing,

that does not tell us whether the defendants' fraud proximately caused the plaintiffs'
injuries . . . At best anv fraud during the sale of those products proximately injured onlv
those initial purchasers who relied on the alleged misrepresentations

214 F.3d at 560 (emphasis added).

The Summit court’s ruling that remote and indirect civil RICO claims, such as those
asserted here, do not satisfy the direct injury requirement under civil RICO is in accord with
numerous other court’s rulings. M, gg;, Steamfitters Local Union v. Phillip Morris, Inc., 171
F.3d 912, 921 (3rd Cir. 1999), cert denied, 120 S. Ct. 844 (2000) (funds too indirect and remote
to recover for alleged harm to smokers).8

In addition, as the Holmes Court ruled, proximate cause cannot be properly plead where,

as here, numerous intervening acts and decisions of third parties necessarily occurred between the

 

alleged actions of defendants and plaintiffs alleged injury. 503 U.S. at 272-73. §§ M Khurana

v. Innovative Health Care Svstems. Inc, 130 F.3d 143 (5th Cir. 1997), vacated § moot, 119 S.

 

Ct. 442 (1998) (affirming dismissal of civil RICO claims where numerous intervening causes

 

8 §e_e also National Enters.. Inc. v. Mellon Fin. Servs. Corp., 847 F.2d 251, 254 (5th Cir.
1988) (“In a RICO case an indirectly injured party should look to the recovery of the directly
injured party, not to the wrongdoer for relief ’) (citation omitted); Laborers Local 17 v. Phillip
Morris, 191 F.3d 229, 239-40 (2d Cir. 1999) (healthcare funds’ claims of injuries (payment of
medical benefits) flowing from tobacco companies’ fraudulent misrepresentations to individual
smokers held too remote); Callahan v. A.E.V. Inc., 182 F.3d 237 , 264 (3rd Cir. 1999) (local beer
distributorships’ complaint of competitive disadvantage resulting from defendants’
misrepresentations to the Pennsylvania Liquor Control Board held too remote); Bivens Gardens
Office Bldg. v. Barnett Banks, 140 F.3d 898, 906 (1 lth Cir. 1998) (losses suffered by company’s
stakeholders as a result of racketeering activity against the company held too remote).

 

 

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existed). Here, there are numerous potential intervening causes between the alleged
misrepresentations by defendants to third parties and plaintiffs claimed injuries. F or example, as
for the code bodies, numerous intervening causal factors other than the alleged
misrepresentations, such as independent investigations, inquiries, tests and economic concems,
may have influenced the decision to grant approval for polybutylene plumbing. Likewise, With
respect to developers, builders and plumbers, numerous intervening causal factors, such as cost
product availability, ease of installation and construction requirements may have influenced their
purchasing decisions, wholly apart from the alleged misrepresentations9 w Summit 214 F. 3d
at 560 ("As a product travels in the stream of commerce, inherent defects are carries with it, but
fraudulent statements are not . . . The causal connection between a misrepresentation and a
subsequent harm . . . vanishes once the product travels beyond the entity Who actually relied on

the representation when making the purchasing decision").

 

9 The Texas Supreme Court decision in Amstadt v. United States Brass Corp., 919

S.W.2d 644, 651 (Tex. 1996), a polybutylene plumbing case brought under the Texas Deceptive
Trade Practices Act illustrates the eroding effect that these intervening acts and decisions have on
the chain of causation. There, like here, property owners alleged that Shell made
misrepresentations to code bodies and builders, but the court rejected the claim that the alleged
misrepresentations were necessarily the cause of their injury: “As was the case With Celanese, the
facts do not support the conclusion that Shell’s misrepresentations were made in connection with
the relevant consumer transactions, the purchase of homes . . . . [A]ny information provided by
Shell was subject to independent evaluation bv builder code officials and bv homebuilders.” ILI.
(emphasis added).

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2. Plaintiff Has Failed To Plead RICO With Adequate Particularity
As Required Under Rule 9(b) Of The Federal Rules Of Civil Procedure

As the Court recognized (Feb. 8 Order at 2), civil RICO claims, like fraud claims in
general, must be stated with adequate particularity and a high degree of specificity. S_eg Bonton v.
Archer Chrvsler Plvmouth. Inc.. 889 F. Supp. 995, 1004 (S.D. Tex. 1995) (citing Tel-Phonic
Servs.. Inc. v. TBS lnt’l, Inc., 975 F.2d 1134, 1138 (5th Cir. 1992)). In such cases, the pleading
must satisfy both the RICO Act and Rule 9(b) of the Federal Rules of Civil Procedure:

We find that most of the alleged Wrongs are not pleaded with sufficient particularity to

constitute the RICO predicate act of wire fraud or mail fraud. Rule 9(b) requires

particularity in pleading the "circumstances constituting fraud." This particularity

requirement applies to the pleading of fraud as a predicate act in a RICO claim as well.

Tel-Phonic 975 F.2d at 1138.10

 

To meet this requirement plaintiffs must "identify particular defendants with Whom they
dealt directly"; "designate the occasions on which affirmative statements Were allegedly made to
them -- and by whom“; and "designate what affirmative misstatement or half-truths Were directed
to them -- and how". Seattle-First Nat’l Bank v. Carlstedt 800 F.2d 1008, 1011 (10th Cir.

1986). ln sum, to comply With Rule 9(b), plaintiffs must allege the time, place and contents of
any allegedly false representations, as Well as the identity of the person making the alleged
misrepresentation and what he obtained thereby. § Keith v. Stoelting, lnc., 915 F.2d 996, 1000
(5th Cir. 1990); B_ontM, 889 F.2d at 1004.

Here, despite the Court’s order, plaintiff does not even attempt to comply with these basic

 

10 In addition, Where, as here, plaintiff alleges a fraudulent scheme with multiple defendants,
the pleading must inform each defendant of the specific fraudulent acts which allegedly constitute
the basis of plaintiffs claim against that party. &_e, gg, Brass v. Allnet Communications Servs.

Qc_., 606 F.Supp. 401, 405 (N.D. Ill. 1985); McKee v. Pop_e, Ballard, Shepard & Fowle, Ltd., 604

F.Supp. 927, 931 (N.D. Ill. 1985) (same). Plaintiff has failed to meet this pleading requirement

 

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pleading requirements in either his complaint or his RICO Statement. Indeed, both plaintiffs
second amended complaint and plaintiffs RICO Statement are utterly devoid of any allegedly
actionable RICO conduct on the part of anyone, much less Celanese specifically. Accordingly,
plaintiffs RICO claims fail to satisfy the strict pleading requirements of Rule 9(b) of the Federal
Rules of Civil Procedure or the RICO Act.

3. Plaintiff Has Failed To Plead That Celanese Engaged In Mail Or Wire Fraud

Without any specifics whatsoever in either his RICO Statement or his complaint, plaintiff
baldly asserts that Celanese committed acts of mail and wire fraud. (Second Amended Compl. 1111
56, 63; RICO Statement at 15-16.) However, plaintiffs bald assertion is insufficient to state a
claim for mail or Wire fraud.

First, following the Supreme Court’s decision in M, 503 U.S. at 270-74, it is clear
that to demonstrate proximate cause, pleading of detrimental reliance is required where, as here,

mail or wire fraud is the predicate act in a civil RICO claim, w Summit 214 F.3d 556. As

 

demonstrated above (B Lp_ra pp. 7-11), plaintiff has failed utterly to plead detrimental reliance.
Second, plaintiff has not plead other essential elements of a mail or wire fraud claim. For
example, it is well settled that “a RICO claim asserting mail fraud as a predicate act must allege
how each act of mail fraud actually furthered the fraudulent scheme, Who caused what to be
mailed when, and how the mailing furthered the fraudulent scheme.” H_<%dc_;n, 937 F. Supp. at
1243. However, plaintiffs second amended complaint fails to allege the time, place, and contents

of any alleged false representations made by Celanese to any homeowner, much less plaintiff here.

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4. Plaintiff Has N ot Adequately Plead An “Enterprise”

Plaintiff has also failed to plead the requisite elements of a RlCO “enterprise.” ln order to
establish a RICO “enterprise,” plaintiff must plead specific facts that among other things,
demonstrate that: (i) the "enterprise" is an "ongoing organization"; (ii) the "enterprise" has an
existence "separate and apa " from the "pattern of racketeering activity"; (iii) the RICO
"enterprise" and the RICO "persons" are separate and distinct; and (iv) the various members of
the "enterprise" "function as a continuing unit" with a hierarchical or consensual decision-making
structure. See, e.g., Delta Truck & Tractor. lnc. v. J.I. Case Co., 855 F.2d 241, 243 (5th Cir.
1988); Atkinson v. Anadarko Bank & Trust Co., 808 F.2d 438, 440-41 (5th Cir. 1987) (holding
that the culpable person cannot constitute the enterprise under §1962(0)); Bishop v. Corbitt
Marine Ways, Inc., 802 F.2d 122, 123 (5th Cir. 1986) (RICO claim dismissed because RICO
"person" and RICO "enterprise" were one and the same). Plaintiff has not met any of these
requirements in either his RICO Statement or complaint

First, plaintiff has failed utterly to plead “specific facts, not mere conclusory allegations”
establishing the existence of an “ongoing” civil RICO “enterprise.” Manax v. McNamara, 842
F.2d 808, 811 (5th Cir. 1988). §e§ M Montesano v. Seafirst Commercial Corp., 818 F.2d 423,
426 (5th Cir. 1987) (same). ln fact, plaintiff merely defines the “enterprise” as defendants
entering into certain unspecified and unknown “agreements to provide polybutylene systems and
the components thereof and through contractual arrangements and joint promotional activity for
marketing the polybutylene systems . . . .” (Second Amended Compl. 11 61 .)

Second, plaintiff has not plead an "enterprise" that is "separate and apart" from the pattern

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of racketeering activity.ll &§ Elliot v. Foufas, 867 F. 2d 877, 881 (5th Cir. 1989) (“[T]he plaintiff
must plead specific facts Which establish that the association exists for purposes other than simply
to commit the predicate acts”). Rather, plaintiff merely alleges that the enterprise consists of
defendants’ sale and marketing of their products, and the alleged pattern of racketeering activity
consists of defendants’ sale and marketing of their products. (Second Amended Compl. 1111 61,
63-65.) Thus, the alleged enterprise and the alleged pattern of racketeering activity are not
separate and apart but rather are identical.

Third, the “enterprise” plead by plaintiff also fails because there is not a sufficient
distinction between the RICO “enterprise” and the RICO “persons.” See, e.g.. ln re Burzvnski,
989 F.2d at 742-43; Crowe v. Hengg, 43 F.3d 198, 206 (5th Cir. 1995) (same). Indeed, plaintiffs
definition of “enterprise” and “persons” is exactly the same -- namely, all of the defendants.
Accordingly, plaintiff simply does not, as he must under § l962(c), set forth any factual support
for the allegations that the “enterprise” is distinct from the RICO persons.12

Finally, when plaintiff alleges a de facto enterprise (as plaintiff does here), plaintiff must
show that there is a hierarchical or consensual governance structure so as to create an

“enterprise,” as opposed to a mere conspiracy. Crowe, 43 F.3d at 205; Delta Truck & Tractor,

 

 

11 See, e.g., Calcasieu Marine Nat'l Bank v. Grant, 943 F.2d 1453, 1462 (5th Cir. 1991)
(failure to plead enterprise separate and apart from pattern); Old Time Enters. v. lnternational
Coffee Cor_'p., 862 F.2d 1213, 1217 (5th Cir. 1989) (same); Atkinson v. Anadarko Bank and Trust
_(L, 808 F.2d 438, 441 (5th Cir. 1987).

12 While the Fifth Circuit recently ruled that an individual can be both a member of an
association-in-fact enterprise and a RICO “person”, the court noted specifically that “there is a
distinction when a corporation has been alleged as both a RICO defendant and a RICO
enterprise.” St. Paul Mercurv lns. Co. v. Williamson, 224 F.3d 425, 447 (5th Cir. 2000)
(emphasis added).

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855 F.2d at 243 (same). Accordingly, plaintiffs conclusory allegation that an entire industry is an
enterprise without any description of how it is run as an enterprise is legally insufficient13

5. Plaintiff Has Failed To Plead A Pattern Of Racketeering Activity

Plaintiff has further failed to plead a civil RICO claim, as plaintiff has not alleged a pattern
of racketeering against Celanese -- an essential element of a civil RICO claim.

First, it is beyond dispute that plaintiff must allege two predicate acts which form a pattern

of racketeering activity. 18 U.S.C. §1961(5); Sedima, 473 U.S. at 508 (a pattern of racketeering

 

activity requires proof of violations of at least two predicate offenses); GICC Capital Com. v.
Tech. Fin. Group, 67 F.3d 463, 465 (2d Cir. 1995) (same). As shown above, mail and wire fraud
are the only predicate acts alleged here, but plaintiff has failed to plead that Celanese engaged in
even one specific act of mail or wire fraud -- much less a pattern of mail or wire fiaud.

Second, plaintiff is also required to establish that the predicate acts relate to each other as
part of a common plan. w pigs Ma, 473 U.S. at 508; §§ also GICC Capital Corp.. 67 F.3d
at 465 (“[the plaintiff] must show that the predicate acts are related and that they amount to, or
pose a threat of, continuing criminal activity”). Unable to plead even a single predicate act

plaintiff plainly cannot show a plan of related acts in either his RICO Statement or complaint

 

13 ln addition, under Section 1962(c), in order to conduct or "participate, directly or
indirectly, in the conduct of [the] enterprise's affairs . . ., [as prohibited by §1962(0)]," one must
participate in the operation or management of the enterprise itself. Reves v. Emst & Young, 507
U.S. 170, 179, 113 S. Ct. 1163, 1170 (1993). No facts are plead as against Celanese to satisfy

this requirement

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6. Plaintiff Concedes, As He Must, That He Cannot
State An “Investment Injury” Claim

Despite alleging an “investment injury” claim under 18 U.S.C. Section 1962(a) in his
complaint (Second Amended Compl. 1111 578-73), plaintiff now concedes that “he do[es] not allege
a violation of 18 U.S.C. § 1962(a) for which [he is] seeking damages”. (RICO Statement at 39.)

Assuming argr_rendo that plaintiff had not conceded that he could not assert an “investment
injury” claim, such a claim would be subject to dismissal because, among other things, the alleged
“investment injury”: (i) results merely from the purported reinvestment of racketeering income
into the RICO enterprise, and (ii) is not separate and distinct from any injuries allegedly caused by

the predicate racketeering activity. S_ee Fogie v. Thom Americas, lnc.. 190 F.3d 889, 896 (8th

 

Cir. 1999) (discussing the requirement of a separate and distinct injury); Vemco Inc. v.
Camardella, 23 F.3d 129, 132-33 (6th Cir. 1994) (allegations that racketeering income was “used,
directly or indirectly, in the operation of the enterprise” insufficient to state a claim under §
1962(a)); Lightning Lube, Inc. v. Witco Com., 4 F.3d 1153, 1188-89 (3d Cir. 1993) (“‘If
plaintiffs’ reinvestment injury concept were accepted, almost every pattern of racketeering by a
corporation would be actionable under § 1962(a) and § 1962(c) would become meaningless”’)
(citation omitted).

7. Plaintiff Has Failed To Plead Properly A RICO Conspiracy Claim

Under established law, in order to plead a RICO conspiracy claim, plaintiff must plead
“specifics as to the details of the alleged conspiracy.” Miranda v. Ponce Fed. Bank 948 F.2d 41,
48 (1st Cir. 1991). §§ also Tel-Phonic Servs., Inc. v. TBS Int’l, Inc., 975 F.2d 1134, 1140-41
(5th Cir. 1992).

Here, plaintiff fails in his complaint and his RICO Statement to allege any agreement or

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promotional activity by Celanese to commit even one act of mail or wire fraud against plaintiff or
any other homeowner. To the contrary, plaintiffs only allegations against Celanese consist in
total of a single letter allegedly sent to a representative of Shell (a co-defendant here) enclosing a
bulletin concerning the properties of Celanese’s raw material Celcon, and three other letters from
Celanese to manufacturers which are not parties to this lawsuit (Second Amended Compl. ‘|1 63.)
As such, plaintiff has not shown any specific facts concerning any agreement by Celanese to
engage in any racketeering activity. §§ Tel-Phonic Servs., 975 F.2d at 1140 (holding that
plaintiffs’ RICO conspiracy claims were properly dismissed by district court for failure to plead
with specificity any agreement to engage in racketeering activity); M, 948 F.2d 41, 48 (lst
Cir. 1991) (same); Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir. 1990)
(affirming dismissal of RICO claims where conspiracy allegations were conclusory).

Moreover, a § 1962(d) conspiracy claim cannot lie where, as here, plaintiff cannot plead
an underlying substantive racketeering claim. §§e Howard v. America Online, 208 F.3d 741, 751-
52 (9th Cir. 2000) (“Plaintiffs cannot claim that a conspiracy to violate RICO existed if they do
not adequately plead a substantive violation of RICO”). As demonstrated previously (B s_uB
pp. 7-17), plaintiff does not, as he cannot, plead any underlying violations necessary to state a

RICO claim predicated upon alleged mail or wire fraud.

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B. The Court Should Dismiss Plaintiff’s Claim For False
Advertising Or Promotion Under Section 43(a) Of The Lanham Act

Plaintiff has attempted to allege a claim for false advertising or promotion under Section
43(a) of the Lanham Act. (Second Amended Compl. 1111 93-101.) However, assuming arggendo
(and contrary to fact) that plaintiff s allegations were true, they fail to state a claim against
Celanese for false advertising or promotion under Section 43(a) of the Lanham Act.

1. Plaintiff Lacks Standirrg To Prosecute A
Claim Under Section 43(a) Of The Lanham Act

Under established law, consumers, such as plaintiff, lack standing to prosecute a claim for
false advertising or promotion under Section 43(a) of the Lanham Act. § Proctor & Gamble
Co. v. Amway Co;p., 242 F.3d 539, 561 (511l Cir. 2001) (explaining that Section 43(a) was
enacted to prevent “anti-competitive conduct in a commercial context”); Seven-Up_ Co. v. Coca-
Cola Co., 86 F.3d 1379, 1383 (5th Cir. 1996) (same). Consumers lack standing because they “fall
outside the range of reasonable interests contemplated as protected by the false advertising prong
of Section 43(a) ofthe Lanham Act.” Serbin v. Ziebart Int’l Corp.. Inc., 11 F.3d 1163, 1177 (3d
Cir. 1993). As the Second Circuit in Colligan v. Activities Club of New York, Ltd., 442 F.2d 686
(2d Cir. 1971), explained:

Congress’ purpose in enacting § 43(a) was to create a special and limited unfair

competition remedy, virtually without regard for the interests of consumers generally and

almost certainly without any consideration of consumer rights of action in particular. The

Act’s purpose, as defined in § 45, is exclusively to protect the interests of a purely

commercial class against unscrupulous commercial conduct

_I_d_. at 692 (footnotes omitted).14

 

14 The FiRh Circuit’s statements on this issue could not be more clear: “most courts that
have addressed the issue agree that in light of the pro-competitive purpose language found in §
45, ‘consumers fall outside the range of reasonable interests contemplated as protected by the

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Moreover, a party lacks standing to prosecute a claim for false advertising or promotion
under the Lanham Act where, as here, the parties are not commercial competitors Seven-Up
L, 86 F.3d at 1383. w all Barrus v. Sylvania, 55 F.3d 468, 470 (9th Cir. 1995) (“[I]n a case

. involving the so-called ‘false advertising’ prong of section 43, 15 U.S.C. § 1125(a)(1)(B), in
order to satisfy standing the plaintiff must allege commercial injury based upon a
misrepresentation about a product and also that the injury was ‘competitive,’ i.e., harmful to the
plaintiffs ability to compete with the defendant”); In re Ford Motor Co. Bronco 11 Prods. Liab.
Mg;, 1995 WL 491155, *2 (E.D. La. Aug. 15, 1995) (“the Lanham Act protects only
commercial parties and ‘[t]o be actionable, [the defendant’s] conduct must not only be unfair but

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in some discernible way be competitive ) (citation omitted).

2. Plaintiff Has Not, As He Cannot, Identify Any False Or Misleading
Representation Made By Celanese In Connection With Commercial
Advertising Or Promotion Of Polybutylene Plumbing

Assuming arguendo (and contrary to law and fact) that plaintiff had standing to prosecute

a claim for false advertising or promotion under Section 43(a) of the Lanham Act, plaintiffs claim

still fails as a matter of law. 1t is well settled that in order to state a claim under Section 43(a) of

 

false advertising prong of Section 43(a) of the Lanham Act.”’ Seven-Up, 86 F.3d at 1383
(citations omitted). Further, the Fifth Circuit stated that “we have found no case which suggests
that ‘consumers’ as such have standing under § 43(a).” Li. at 1383 n.5. Not surprisingly, given
the clarity of the Fifth Circuit’s and other federal circuit court’s rulings in this area, district courts
in this circuit have held uniformly that consumers lack standing under Section 43 (a) of the
Lanham Act. §§ Bacon v. Southwest Airlines Co., 997 F. Supp. 775, 781 (N.D. Tex. 1998) (“ln
light of the dicta in Seven-Up and the decisions of the other circuits that addressed this issue, the
court holds that plaintiffs do not have a private right of action to bring a claim under [the Lanham
Act] because they are consumers Who are not even arguably engaged in any commercial activity
that would be subject to competitive injury protected by the Lanham Act”); ln re F ord Motor Co.
Bronco 11 Prods. Liab. Litig.. 1995 WL 491155, *2 (E.D. La. Aug. 15, 1995) (“the Lanham Act
protects only commercial parties and ‘[t]o be actionable, [the defendant’s] conduct must not only
be unfair but in some discernible way be competitive”’) (citations omitted).

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the Lanham Act, the plaintiff must allege, among other things: (i) “detailed [and] specific factual
assertions,” (ii) which were false, and (iii) which were made in connection with commercial
advertising or promotion of a particular product Cook. Perkiss & Liehe. Inc. v. Northem Cal.

Collection Serv. Inc., 911 F.2d 242, 246 (9th Cir. 1990). g also Ditri v. Coldwell Banker

 

Residential Affiliates Inc., 954 F.2d 869, 872 (3d Cir. 1992) (“plaintiff must assert in the first

 

instance that a misleading message is conveyed”); Chevron Chem. Co. v. Voluntarv Purchasing
Groups, Inc., 659 F.2d 695, 700-01 (5th Cir. 1981) (false advertising claim requires “an
affirmative misrepresentation by the defendant . . . regarding the existence of certain qualities or
characteristics that its goods do not in fact have”); lean Labs.. Inc. v. Matkari, 7 F.3d 1130,

1139 (4th Cir. 1993) (“ln order to state a proper claim for relief under § 43(a) of the Lanham Act,

 

[the plaintiff] was required to point to some claim or representation that is reasonably clear from
the face of the defendants’ advertising or package inserts”) (emphasis in original).

Here, plaintiff has not identified any specific representation, much less a false and
misleading representation, made by Celanese in connection with commercial advertising or
promotion of polybutylene plumbing. Accordingly, plaintiff has failed to state a claim for false

advertising or promotion under Section 43(a) of the Lanham Act.

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C. Plaintiff’s Claim Against Celanese For Alleged Violation Of The Due
Process Clause Of The United States Constitution Is Whollv Meritless

Despite settled and controlling law to the contrary, plaintiff has attempted to create federal
question jurisdiction by asserting a claim for alleged violation of the Due Process Clause of the
United States Constitution. (Second Amended Compl. 1111 102-129.) According to plaintiffs
second amended complaint, plaintiff anticipates defendants may assert the preclusive effect of the
final judgment in L as a bar to plaintiffs claims. (E. at 120.) ln response to this anticipated
defense, plaintiff apparently may argue that his due process rights were somehow violated in the
Tennessee action15 (i§. at 1111 115, 117, 119), and requests that this Court “preliminarily and
permanently enjoin [defendants] from directly or indirectly invoking [the Tennessee action] . . . to
bar the Plaintiff and other members of the Class from asserting their rights to recover damages
caused by the polybutylene system.” (ILl. at 11 129.) As demonstrated below, plaintiffs due
process claim neither states a claim upon which relief can be granted, nor provides a basis for

federal subject matter jurisdiction

 

15 Much of plaintiff s complaint on this point is based on the erroneous claim that the
Tennessee “Door Closing” statute or decisional law supposedly precluded the B court from
exercising jurisdiction over the claims of non-resident class members. (lc_l. at 1111 105-111, 114,
116.) While plaintiffs allegations are in any event insufficient to state a cause of action, plaintiff s
allegations misstate the law of Tennessee. §§ Davenport v. State F arm Mut. Auto Ins. Co., 756
S.W.2d 678, 684 (Tenn. 1988) (Tennessee courts may exercise jurisdiction over the claims of
non-residents against foreign corporations for conduct that arises outside of Tennessee). § a_lY
Walker v. Nationwide lns. Co., 813 S.W.2d 135, 139 (Tenn. Ct. App. 1991) (same). Tellingly,
plaintiff cites § authority -- as none exists -- to support his argument

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1. A Private Citizen Such As Celanese Cannot Violate
The Due Process Clause Of The United States Constitution

Plaintiffs due process claim is defective as against Celanese because Celanese -- a private
citizen which is not acting under color of state -- cannot violate plaintiffs due process rights. §
Landr_'y v. A-Able Bonding, Inc., 75 F.3d 200, 203 (5th Cir. 1996) (“ln order to prove the
deprivation of a right protected by the Due Process Clause . . ., plaintiff must prove state action”);
Bishop v. F ederal 1ntermediate Credit Bank of Wichita, 908 F.2d 65 8, 663 (10th Cir. 1990) (“A
cognizable constitutional deprivation requires that the deprivation be the result of government
action”); Grossbard v. President Container. Inc.. 840 F. Supp. 296, 298 (S.D.N.Y. 1993) (“The
Fifth and Fourteenth Amendments are implicated, and hence confer jurisdiction, only When
government action is involved”), M, 41 F.3d 1501 (2d Cir. 1994) (citing Public Utils. Comm’n
v. Pollack, 343 U.S. 451, 461 (1952) and Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 924
(1982)).

2. The Anti-Injunction Act Prohibits Plaintiff From
Seeking To Enjoin Defendants From Asserting
The Preclusive Effect Of The Final Judgment In Cox

As is clear from plaintiffs second complaint, plaintiff seeks in this action to have this
Court enjoin defendants from asserting the preclusive effect of the final judgment in § as a bar
to plaintiffs claims. (Second Amended Compl. 11 129.) However, injunctions such as that sought
by plaintiff are prohibited by the Anti-lnjunction Act.

Under the Anti-lnjunction Act, as codified by 28 U.S.C. § 2283, “[a] court of the United
States may not grant an injunction to stay proceedings in a State court except as expressly
authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to protect or

effectuate its judgments.” 1n Hill v. Martin, 296 U.S. 393 (1935), the Supreme Court explained

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that:

The prohibition of [section 2283] is against a stay of “proceedings in any court of a
State.” That term is comprehensive . . . lt applies not only to an execution issued
on a judgment but to any proceeding supplemental or ancillary taken with a view
to making the suit or judgment effective The prohibition is applicable whether
such supplementary or ancillary proceeding is taken in the court which rendered
the judgment or some other. And it governs a privy to the state court proceeding .

. . as well as the parties of record.

E. at 403. §_e§ als_Q Atlantic Coast Line R.R. Co. v. Brotherhood of Locomotive Eng’rs, 398
U.S. 281, 287 (1970) (“the prohibition of § 2283 cannot be evaded by addressing the order to the
parties or prohibiting utilization of the results of a completed state proceeding”).

Here, the injunction sought by plaintiff would violate the clear dictates of the Anti-
Injunction Act, as plaintiff seeks to enjoin defendants from enforcing the final judgment in M,
which effectively approved the settlement of a nationwide class action relating to owners of
properties with polybutylene plumbing.

Moreover, plaintiff cannot seek to sidestep the Anti-Injunction Act by requesting that this
Court enjoin defendants, rather than the Tennessee state court from enforcing the M judgment
M ln re General Motors Corp. Pick-up Truck Fuel Tank Prods. Liab. Litig.. 134 F.3d 133, 144
(3d Cir. 1998) (“The Anti-lnjunction Act is ‘an absolute prohibition against enjoining State Court
proceedings . . . This prohibition applies whether appellants seek to enjoin the parties to the action
or the state court itself ’); Pelfresne v. Village of Williams Bav. 865 F.2d 877, 879 (7th Cir. 1989)
(“the term ‘proceedings’ in the Anti-Injunction Act does not merely apply to ongoing litigation
before a state tribunal -- the Act also bars injunctive relief which prevents a victorious state
litigant from executing a state judgment”); Sigr_ial Properties, lnc. v. Farha, 482 F.2d 1136, 1137

(5th Cir. 1973) (same).

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3. Under The M/Feldman Doctrine, The Court
Lacks Subject Matter Jurisdiction To Review A
Final State Court Judgment
Contrary to established Supreme Court authority, the relief requested by plaintiff
improperly requests that this Court review the final order and judgment approving the Tennessee
nationwide class action settlement (M Second Amended Compl. 1111 112-125.) ln Rooker v.
Fidelity Trust Co., 263 U.S. 413 (1923) and District of Columbia Court of Apneals v. Feldman,
460 U.S. 462 (1983), the Supreme Court held that “a United States District Court has no
authority to review final judgments of a state court in judicial proceedings.” Feldman, 460 U.S. at
482; §§ als_o Atlantic Coast Line R.R. Co. v. Brotherhood of Locomotive Eng’rs, 398 U.S. 281,
296 (1970) (“lower federal courts possess no power whatever to sit in direct review of state court
decisions”).
As the Fifth Circuit has explained, “[i]t is axiomatic that a federal district court as a court
of original jurisdiction, lacks appellate jurisdiction to review, modify, or nullify a final order of a
state court.” Lampkin-Asam v. Supreme Court of Florida, 601 F.2d 760 (5th Cir. 1979). §
al§)_ Snider v. City of Excelsior Springs, Missouri, 154 F.3d 809, 811 (8th Cir. 1998) (“RLker-
Feldman precludes a federal action if the relief requested in the federal action would effectively
reverse the state court decision or void its holding”).
Accordingly, plaintiff cannot seek to have this Court review the final judgment in @.

Rather, plaintiff s only avenue of appellate review Would have been through the Tennessee state

court system.16 Feldman, 460 U.S. at 482; g a@ Atlantic Coast Line, 398 U.S. at 296 (party

 

16 Plaintiff failed to preserve his right to appeal the §§ final order and judgment Under
Tennessee law, in order to preserve the right of appeal, a party must file a notice of appeal within
30 days of entry of a final order and judgment Tenn. R. App. P. 4. Failure to file a notice of

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may only “seek vindication of its federal right in the [state] appellate courts”); Co;pus Christi
Taxpaver’s Assoc. v. Citv of Corpus Christi, 858 F.2d 973, 976 (5th Cir. 1988) (“if the state trial
court erred . . ., the plaintiffs’ remedy Was to cure that error by appeal through the [state] courts
and ultimately to the United States Supreme Court, and not by an independent proceeding in the
federal district court”).

The decision in Kamilewicz v. Bank of Boston Corp., 92 F.3d 506 (7th Cir. 1996), is
particularly apt There, like here, absent class members -- who were “[u]nhappy with the peculiar
result of [a] class action suit in Alabama” -- commenced an action in federal district court seeking,
among other things, to review a class action settlement which had been approved by a state court
E. at 508-09. There, like here, the plaintiffs argued that the federal district court was authorized
to review the state court judgment because the state court allegedly had failed to comply with
procedural due process ld_. at 509-10. There, like here, the plaintiffs alleged that the state court
lacked personal jurisdiction over them because notice of the class action settlement and class
representation were allegedly inadequate 1§1. The court in Kamilewicz made clear that the
MEeldman doctrine barred the federal district court from adjudicating plaintiffs’ claims 1§1.
at 511-12. §§ ali Snider v. City of Excelsior Springs, Missouri, 154 F.3d 809, 812 (8th Cir.
1998) (absent class members in state court action barred from prosecuting their claims in federal
district court; “As we have held before in a case in which the plaintiffs alleged insufficient notice
in a state court action, there is no procedural due process exception to the Rooker-Feldman

rule”).

 

appeal constitutes a waiver of the right to appeal absent unusual circumstances §§ First
National Bank of Polk Countv v. Gross. 912 S.W.2d 147 (Tenn. Ct. App. 1995). Plaintiff filed no
such notice of appeal within the Tennessee state court system.

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4. Plaintiff’s Claim Against Celanese For Alleged Violation
Of The Due Process Clause Fails To Provide A Basis
For Federal Subject Matter Jurisdiction

The determination of federal subject matter jurisdiction is based only upon the “allegations
of [plaintiffs] well-pleaded complaint.” Carpenter v. Wichita Falls Indep. School Dist.. 44 F.3d
362, 366 (5th Cir. 1995) (citing Louisville & Nashville R.R. Co. v. Mottlev. 211 U.S. 149
(1908)); g also Merrell Dow Pharrnaceuticals Inc. v. Thompson. 478 U.S. 804, 813 (1986)

(“the question whether a claim ‘arises under’ federal law must be determined by reference to the
‘well-pleaded complaint”’). The Supreme Court has held squarely that “[t]he federal question
‘must be disclosed upon the face of the complaint, unaided by the answer,”’ and “‘the complaint
itself will not avail as a basis of jurisdiction in so far as it goes beyond a statement of the plaintiffs
cause of action and anticipates or replies to a probable defense.”’ Phillips Petroleum Co. v.

Texaco Inc., 415 U.S. 125, 128 (1974) (quoting Gully v. First Nat’l Bank in Meridian, 299 U.S.
109, 112 (1936)).17

 

Accordingly, federal question jurisdiction is not created where a party asserts an
anticipatory defense as the jurisdictional basis, much less where, as here, a party asserts a potential
response to an anticipatory defense as a basis for federal subject matter jurisdiction. 1§1. at 128;
§_ gls_o 13B Wright Miller & Cooper, Federal Practice & Procedure: 1 urisdiction § 3566 at 84

(1984) (“the well-pleaded complaint rule bars plaintiff from invoking original federal jurisdiction

by anticipating in the complaint a defense that defendant will raise”).

 

17 §§ ali Lowe v. Ingalls Shipbuilding, 723 F.2d 1173, 1178 (5th Cir. 1984) (federal
question jurisdiction “is not satisfied merely because ‘the dispute is in some Way connected with a
federal matter”’) (citation omitted); Pierre v. Jordan, 333 F.2d 951, 958 (911l Cir. 1964) (“The fact
that it may be necessary in the course of the litigation to construe or apply provisions of the
Constitution is not sufficient to give application to 28 U.S.C. § 1331”); 14B Wright Miller &
Cooper, Federal Practice & Procedure: Jurisdiction § 3722 at 402-05 (1984) (“The federal claim
or right that provides the predicate for [jurisdiction] must not be asserted as part of an issue that

is merely collateral or incidental to a claim that is primarily based in state law”).

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The factual scenario faced by the Supreme Court in Phillips Petroleum is strikingly similar
to this case. There, like here, the plaintiff attempted to create federal question jurisdiction by
asserting that the defendant might raise a federal statute as a defense to plaintiffs state law claims.
ln finding subject matter jurisdiction lacking, the Supreme Court explained that “[t]o the extent
that the [federal statutes] may bear on this action . . ., it is clear that their effect is no more than to
overcome a potential defense to the action.” E. at 129. The conclusion should be the same
here.18

D. The Court Should N ot Exercise Supplemental
Jurisdiction Over Plaintiff’s Pendent State Law Claims
H

The Court should not exercise supplemental jurisdiction over plaintiffs pendent state law
claims, as it is well settled that where, as here, “all federal claims are dismissed or otherwise
eliminated from a case prior to trial, [federal district courts should] decline to exercise jurisdiction

over the pendent state law claims.” McClelland v. Gronwaldt. 155 F.3d 507, 519 (5th Cir. 1998).

 

18 ln strikingly similar decisions, other courts have routinely held that anticipatory defenses
fail to provide a basis for subject matter jurisdiction. See, ggg Merrell Dow Pharrnaceuticals lnc.
v. Thompson, 478 U.S. 804, 808 (1986) (“A defense that raises a federal question is inadequate
to confer federal jurisdiction”); Ttea v. Ysleta Del Sur Pueblo, 181 F.3d 676, 681 (511l Cir. 1999)
(“Under the well-pleaded complaint rule, an anticipatory defense is insufficient for federal
jurisdiction”) (citing Louisville & Nashville R.R. Co. v. Mottlev. 211 U.S. 149, 152 (1908));
Lowe v. lngalls Ship_building, 723 F.2d 1173, 1178 (5111 Cir. 1984) (“‘[T]he mere presence of a
federal issue, specifically the anticipation of a federal defense, would not permit invocation of
federal-question jurisdiction”’) (citation omitted); Martin v. Drummond Coal Co., lnc., 756 F.
Supp. 524, 526-27 (N.D. Ala. 1991) (no federal question jurisdiction where due process claim
was added “in anticipation of a threatened defense of res judicata”); Bender v. Prudential lns. Co.
of America, 860 F. Supp. 803, 805 (M.D. Ala. 1994) (“whether a case is one arising under the
constitution, laws, or treaties of the United States ‘must be determined from what necessarily
appears in the plaintiffs statement of his own claim in the bill or declaration . . . unaided by
anything alleged in anticipation of what may occur later in the litigation, such as something
‘alleged in anticipation of avoidance of defenses which it is thought the defendant may
interpose”’) (quoting Franchise Tax Board v. Construction Laborers Vacation Trust. 463 U.S. l,
9 (1983)).

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ee w Engstrom v. First National Bank of Eagle Lake, 47 F.3d 1459, 1465 (5th Cir. 1995); 28

U.S.C. § 1367(c). Significantly, where, as here, “‘the federal-law claims have dropped out of the
lawsuit in its early stages and only state-law claims remain, the federal court should decline the
exercise of jurisdiction.”’ McClelland, 155 F.3d at 520 (quoting Carnegie-Mellon Univ. v. Cohill
108 S. Ct. 618, 619 (1988)).
III.
CONCLUSION
F or the foregoing reasons, Celanese respectfully submits that the Court should grant
Celanese’s Renewed Motion to Dismiss Plaintiffs Second Amended Complaint pursuant to Rules

9(b), 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

Respectfully submitted,

  

 

  

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CERTIFICATE OF SERVICE

1 hereby certify that a true and correct copy of the foregoi g has been served via United
States mail, postage prepaid, to all counsel of record on this ll day of April 2001.

 

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